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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


FAITH MCLAIN, CHRISTEEN                       CV 16-36-BLG-SPW-TJC
MCLAIN, JOHN MCLAIN, MOLLY
MCLAIN, MIRA MCLAIN, AND
MATTHEW MCLAIN, AS                            ORDER
BENEFICIARIES OF THE ESTATE
OF BERNARD MCLAIN, AND
MARY MCLAIN, INDIVIDUALLY
AS BENEFICIARY OF THE ESTATE
OF BERNARD MCLAIN AND AS
TRUSTEE OF THE E-3 RANCH
TRUST,

                   Plaintiffs,

vs.

FRANCIS MCLAIN,
INDIVIDUALLY AND AS CO-
MANAGER OF TERA BANI
RETREAT MINISTRIES, CAROLINE
MCLAIN, INDIVIDUALLY AND AS
MANAGING DIRECTOR OF TERA
BANI RETREAT MINISTRIES,
ALAKHI JOY MCLAIN, SOHNJA
MAY MCLAIN, AND DANE SEHAJ
MCLAIN, AS PURPORTED
CERTIFICATE HOLDERS OF THE E-
3 RANCH TRUST,

                   Defendants.

THE UNITED STATES OF
AMERICA,
              Intervenor
              Defendant and
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                   Counter/Cross-
                   Claimant,

vs.

FAITH MCLAIN, CHRISTEEN
MCLAIN, JOHN MCLAIN, MOLLY
MCLAIN, MIRA MCLAIN, AND
MATTHEW MCLAIN, as Beneficiaries
of THE ESTATE OF BERNARD
MCLAIN; and MARY MCLAIN, as
Beneficiary of the ESTATE OF
BERNARD MCLAIN, and as Trustee
of the E-3 RANCH TRUST,
                   Counterclaim
                   Defendants and

FRANCIS MCLAIN, individually, and
as Co-Manager of TERA BANI
RETREAT MINISTRIES; CAROLINE
MCLAIN, individually, and as
Managing Director of TERA BANI
RETREAT MINISTRIES; and
ALAKHI JOY MCLAIN, SOHNJA
MAY MCLAIN, AND DANE SEHAJ
MCLAIN, as Beneficiaries of the E-3
RANCH TRUST,

                   Crossclaim
                   Defendants and

AMERICAN BANK OF MONTANA
and BRAD D. HALL

                   Additional
                   Defendants on
                   United States’
                   claims.
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      Before the Court is Defendant Francis (“Frank”) McLain’s Motion for the

Court to Certify that the Orders of March 6, 2018 and November 9, 2020 are Final

Judgments. (Doc. 222.) The Court notes that Frank failed to adhere to Local Rule

7.1, which states:

      (a) The text of the motion must state that the other parties have been
      contacted and state whether any party objects to the motion. Parties that
      have not yet appeared in the action or whose default has been entered need
      not be contacted. This Rule 7.1(c)(1) does not apply to any party in a case
      filed by a self-represented prisoner.

      (b) When a motion is unopposed, the word “unopposed” must appear in the
      title of the motion.

Adherence to this local rule allows the Court, and often the parties, to handle

matters more expeditiously. Compliance with the local rule is required.

Accordingly, IT IS ORDERED that Frank’s Motion (Doc. 222) is DENIED with

leave to renew.

DATED this 12th day of January, 2020.

                                       _______________________________
                                       TIMOTHY J. CAVAN
                                       United States Magistrate Judge
